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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 UNITED STATES OF AMERICA
                                            No. 18 CR 24
                      v.                    Judge John J. Tharp, Jr.

 JIONGSHENG (“JIM”) ZHAO

        NOTICE OF THE SECOND AGREED MOTION TO CONTINUE
       DATES FOR SENTENCING AND VERSIONS OF THE OFFENSE

       PLEASE TAKE NOTICE that on July 9, 2019, at 9:00 a.m., or as soon

thereafter as counsel may be heard, the undersigned counsel for the United States of

America will appear before the Honorable John J. Tharp, Jr. or any judge sitting in

his stead in Courtroom 1418, 219 South Dearborn Street, Chicago, Illinois, to present

this Second Agreed Motion to Continue Dates for Sentencing and Versions of the

Offense.   Through this Motion, unopposed by the defendant, the United States

respectfully moves the Court for an order stating that (i) the government shall

provide its Version of the Offense to the Probation Office by September 9, 2019;

(ii) the defendant shall provide his Version of the Offense, if any, to the Probation

Office by September 16, 2019; and (iii) sentencing in this matter shall be reset for

December 10, 2019. The accompanying brief is incorporated into this Motion as if

fully set forth herein.
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Dated: June 28, 2019

                                      Respectfully submitted,

                                      ROBERT A. ZINK
                                      Acting Chief, Fraud Section
                                      Criminal Division

                                            /s/
                                      Justin Weitz
                                      Assistant Chief

                                      Matthew F. Sullivan
                                      Trial Attorney




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                         UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA
                                            No. 18 CR 24
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JIONGSHENG (“JIM”) ZHAO

           SECOND AGREED MOTION TO CONTINUE DATES
          FOR SENTENCING AND VERSIONS OF THE OFFENSE

      Now comes the United States of America, through undersigned counsel, and

states as follows in support of its Second Agreed Motion to Continue Dates for

Sentencing and Versions of the Offense:

            1.     On December 26, 2018, the defendant pleaded guilty to a one-

      count information charging him with spoofing, in violation of 7 U.S.C.

      §§ 6c(a)(5)(C) and 13(a)(2). The defendant’s sentencing hearing is presently

      scheduled for October 10, 2019 at 10:00 a.m.

            2.     Pursuant to Local Criminal Rule 32.1(e) and the Court’s

      March 28, 2019 order (Dkt. No. 47), the government must provide its Version

      of the Offense to the Probation Office by July 9, 2019, and the defendant must

      provide his Version of the Offense, if any, by July 16, 2019.

            3.     The government seeks to continue by two months the dates for

      the sentencing hearing (i.e., to December 10, 2019) and on which the parties

      must provide their Versions of the Offense to the Probation Office (i.e., to

      September 9, 2019 for the government; to September 16, 2019 for the

      defendant). The defendant is cooperating with the government’s investigation,
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       and the government anticipates needing additional time to evaluate the

       defendant’s cooperation. Accordingly, the government seeks a continuance of

       the sentencing hearing to December 10, 2019, and requests that Versions of

       the Offense be provided to the Probation Office on the schedule proposed above.

             4.     Pursuant to Local Criminal Rule 32.1(f), if sentencing is

       continued as requested, the Presentence Investigation Report would be due by

       November 5, 2019.     The new deadlines proposed above, therefore, should

       provide the Probation Office with sufficient time to incorporate the Versions of

       the Offense submitted by the parties prior to the Probation Office’s deadline

       for submitting the PSR.

             5.     The defendant does not oppose the government’s request for a

       continuance set forth in this Motion.

V.     CONCLUSION

       For all of the foregoing reasons, the Second Agreed Motion to Continue the

Dates of Sentencing and Versions of the Offense should be granted.

Dated: June 28, 2019

                                         ROBERT A. ZINK
                                         Acting Chief, Fraud Section
                                         Criminal Division

                                               /s/
                                         Justin Weitz
                                         Assistant Chief

                                         Matthew F. Sullivan
                                         Trial Attorney




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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
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UNITED STATES OF AMERICA
                                           No. 18 CR 24
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JIONGSHENG (“JIM”) ZHAO

                                     ORDER

      Upon consideration of the Second Agreed Motion to Continue Dates of

Sentencing and Versions of the Offense, IT IS HEREBY ORDERED that:

      1.    The Motion is GRANTED.

      2.    The government shall provide its Version of the Offense to the Probation

Office by September 9, 2019.

      3.    The defendant shall provide his Version of the Offense, if any, to the

Probation Office by September 16, 2019.

      4.    Sentencing in this matter is reset for December 10, 2019 at _____.

      IT IS SO ORDERED.

                                            ____________________________________
                                            Hon. John J. Tharp, Jr.
                                            United States District Judge
